 Fill in Case     25-40684-mxm11
         this information to identify the case: Doc 1        Filed 02/27/25 Entered 02/27/25 11:38:18                               Desc Main
                                                           Document      Page 1 of 24
     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Texas (State)

                                                                      11
     Case number (If known): _________________________ Chapter ______
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Watchtower    Firearms, LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Victory  Arms, LLC
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                               5 Windsor Ridge                                          _______________________________________________
                                           ______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                               Frisco                      TX      75034
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Dallas County
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                https://watchtowerfirearms.com/
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
          Case 25-40684-mxm11                 Doc 1        Filed 02/27/25 Entered 02/27/25 11:38:18                               Desc Main
                                                         Document      Page 2 of 24
                Watchtower Firearms, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            3484
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
       A debtor who is a “small business
       debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
       box. A debtor as defined in                            debtor is a small business debtor, attach the most recent balance sheet, statement
       § 1182(1) who elects to proceed                        of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
       under subchapter V of chapter 11
       (whether or not the debtor is a                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
       “small business debtor”) must                          chooses to proceed under Subchapter V of Chapter 11.
       check the second sub-box.
                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.
                                          Chapter 12


9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10. Are any bankruptcy cases              No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
         Case 25-40684-mxm11                     Doc 1       Filed 02/27/25 Entered 02/27/25 11:38:18                                Desc Main
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               Watchtower Firearms, LLC
Debtor         _______________________________________________________                          Case number (if known)_____________________________________
               Name




11. Why is the case filed in this          Check all that apply:
   district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            ✔

                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have            
                                           ✔ No
   possession of any real                   Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
   property or personal property
   that needs immediate                              Why does the property need immediate attention? (Check all that apply.)
   attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.
                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                         attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                         assets or other options).

                                                      Other _______________________________________________________________________________


                                                     Where is the property?_____________________________________________________________________
                                                                                 Number       Street

                                                                                 ____________________________________________________________________

                                                                                 _______________________________________      _______     ________________
                                                                                 City                                         State       ZIP Code


                                                     Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________
                                                              Contact name       ____________________________________________________________________

                                                              Phone              ________________________________




           St a t ist ic a l a nd a dm inist ra t ive informa t ion



13. Debtor’s estimation of                 Check one:
   available funds                          Funds will be available for distribution to unsecured creditors.
                                            ✔


                                            After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                            1-49                             1,000-5,000                             25,001-50,000
14. Estimated number of
                                            50-99
                                            ✔
                                                                              5,001-10,000                            50,001-100,000
   creditors
                                            100-199                          10,001-25,000                           More than 100,000
                                            200-999

                                            $0-$50,000                       $1,000,001-$10 million                  $500,000,001-$1 billion
15. Estimated assets
                                            $50,001-$100,000                 $10,000,001-$50 million
                                                                             ✔
                                                                                                                       $1,000,000,001-$10 billion
                                            $100,001-$500,000                $50,000,001-$100 million                $10,000,000,001-$50 billion
                                            $500,001-$1 million              $100,000,001-$500 million               More than $50 billion



 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
         Case 25-40684-mxm11                   Doc 1       Filed 02/27/25 Entered 02/27/25 11:38:18                                 Desc Main
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             Watchtower Firearms, LLC
Debtor       _______________________________________________________                            Case number (if known)_____________________________________
             Name



                                          $0-$50,000                         $1,000,001-$10 million                   $500,000,001-$1 billion
16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million
                                                                                 ✔
                                                                                                                        $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


           Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
   authorized representative of
                                             petition.
   debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            02/27/2025
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Jason Colosky
                                             _____________________________________________               Jason Colosky
                                                                                                        _______________________________________________
                                             Signature of authorized representative of debtor           Printed name

                                                    CEO
                                             Title _________________________________________




18. Signature of attorney
                                          /s/ Joseph Acosta
                                             _____________________________________________              Date         02/27/2025
                                                                                                                     _________________
                                              Signature of attorney for debtor                                       MM   / DD / YYYY



                                              Joseph Acosta
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Condon Tobin
                                             _________________________________________________________________________________________________
                                             Firm name
                                              8080 Park Lane Suite 700
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Dallas
                                             ____________________________________________________             TX            75231
                                                                                                            ____________ ______________________________
                                             City                                                           State        ZIP Code

                                              214-763-3440
                                             ____________________________________                              jacosta@condontobin.com
                                                                                                            __________________________________________
                                             Contact phone                                                  Email address



                                              24006731                                                        TX
                                             ______________________________________________________ ____________
                                             Bar number                                             State




 Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
           Case 25-40684-mxm11                      Doc 1       Filed 02/27/25 Entered 02/27/25 11:38:18                                   Desc Main
                                                              Document      Page 5 of 24
      Fill in this information to identify the case:

                    Watchtower Firearms, LLC
      Debtor name __________________________________________________________________

                                              Northern District of Texas
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                            Check if this is an
      Case number (If known):   _________________________                                                                                       amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,           Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code      and email address of              (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                              creditor contact                  debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                                professional        unliquidated, total claim amount and deduction for value of
                                                                                services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                     Total claim, if   Deduction for      Unsecured
                                                                                                                     partially         value of           claim
                                                                                                                     secured           collateral or
                                                                                                                                       setoff
     DASAN USA/ALPHA FOXTROT                  678-591-6495                    Suppliers or Vendors
1    2400 Main Street NW                      jack.you@dasan-usa.com
     Duluth, GA, 30097
                                                                                                                                                         686,592.00


     Department of Treasury                                                   Excise Taxes
2    Alcohol and Tobacco Tax & Trade Bureau
     550 Main Street, Suite 8002
                                                                                                                                                         409,902.83
     Cincinnati, OH, 45202-5215

     2020 Exhibits, Inc.                      713-346-0041                    Services
3    10550 S. Sam Houston Pkwy W.             denise.reyes@2020exhibits.com
     Houston, TX, 77071
                                                                                                                                                         359,781.00


     ThinOps Services                         281-702-1026                    Services
4    9450 Pinecroft Ave.                      tom.moreno@thinops.com
     Suite 9545                                                                                                                                          242,611.00
     The Woodlands, TX, 77387


     MJD Solutions                            (760) 458-5894                  Suppliers or Vendors
5    502 Big Indian Loop                      matthew@mjd.solutions
     Mooresville, NC, 28117                                                                                                                              198,400.00


     Royal Case Company                       (903) 868-0288                  Suppliers or Vendors
6    419 E. Lamar Street                      tthompson@royalcase.com
     Sherman, TX, 75090                                                                                                                                  100,143.44


     Check-Mate Manufacturing                 (631) 491-1777                 Suppliers or Vendors
7    370 Wyandanch Ave                        brandon@checkmateindustries.co
     West Babylon, NY, 11704                  m                                                                                                          96,984.20


     United Protective Technologies           (336) 247-5159                  Services
8    PO Box 1149                              dmoulton@upt-usa.com
     Locust, NC, 28097                                                                                                                                   73,042.10




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
             Case 25-40684-mxm11                   Doc 1       Filed 02/27/25 Entered 02/27/25 11:38:18                                  Desc Main
                                                             Document      Page 6 of 24
                      Watchtower Firearms, LLC
    Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                     Name




     Name of creditor and complete           Name, telephone number,          Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of             (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact                 debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                              professional        unliquidated, total claim amount and deduction for value of
                                                                              services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                   Total claim, if   Deduction for      Unsecured
                                                                                                                   partially         value of           claim
                                                                                                                   secured           collateral or
                                                                                                                                     setoff
     Faxon Firearms                         (513) 646-0661                  Suppliers or Vendors
9    4348 Le Saint Court                    Dustin.Wallace@faxonfirearms.co
     Fairfield, OH, 45014                   m                                                                                                          71,234.56


     Angry Bear Arms                        Caleb Shepard                   Suppliers or Vendors
10 P.O. Box 1182                            (417) 340-4327
     Salem, MO, 65560                       angrybeararms@gmail.com                                                                                    68,042.59



     Pierson Ferdinand LLP                                                  Services
11 14800 Frye Road, 2nd Floor
     Fort Worth, TX, 76155                                                                                                                             60,928.00


     FisherBroyles, LLP                                                     Services
12 P.O. Box 735232
     Dallas, TX, 75373                                                                                                                                 59,930.00



     Cutting Tools                          (713) 466-0088                  Suppliers or Vendors
13 5050 Ashley Ct.                          info@cuttingtools.com
     Houston, TX, 77041                                                                                                                                56,103.10


     Safety Kleen Systems Inc               (281) 208-6500                  Services
14 PO BOX 975201
     Dallas, TX, 75397                                                                                                                                 54,522.78


     Vaportech                                                              Services
15 PO Box 932614
     Atlanta, GA, 31193
                                                                                                                                                       48,004.89


     National Shooting Sports Foundation                                    Services
16 PO BOX 4110
     Dept. 3510                                                                                                                                        47,334.00
     Woburn, MA, 01888

     Oracle America, Inc.                   (800) 762-5524                  Services
17 500 Oracle Parkway
     Redwood City, CA, 94065
                                                                                                                                                       46,352.63


     D&I Tool                               (281) 773-7030                  Suppliers or Vendors
18 16343 Waverly Drive                      david@di-tool.com
     Houston, TX, 77032                                                                                                                                44,329.00


     A3D Manufacturing                      (480) 454-5037                  Suppliers or Vendors
19 15220 S. 50th St. Suite 105              michael@a3dmfg.com
     Phoenix, AZ, 85044
                                                                                                                                                       41,601.57


     Fusion Firearms                        Tyler Serva                     Suppliers or Vendors
20 200 Rich Street                          (607) 221-7369
     Venice, FL, 34292                      tsfusion@outlook.com                                                                                       41,231.20




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 2
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Watchtower Firearms, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 WTF Resources, LLC                                          37.8                    Preferred stockholder
 1229 Calle Del Sur 79912, El Paso, TX 79912




 Jason Colosky                                               9.5                     Preferred stockholder
 5 Windsor Ridge, Frisco, TX 75035




 Jason Colosky                                               2.4                     Preferred stockholder
 5 Windsor Ridge, Frisco, TX 75035




 Function 1 Consulting Group                                 9.5                     Preferred stockholder
 4003 Barco Ct., Spring, TX 77386




 Ryan Holdings, LLC                                          4.7                     Preferred stockholder
 PO Box 803447, Dallas, TX 75380




 JJ Dupont, LLC                                              1.2                     Preferred stockholder
 2540 Hwy 384, Bell City, LA 70630
     Case 25-40684-mxm11            Doc 1     Filed 02/27/25 Entered 02/27/25 11:38:18             Desc Main
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Watchtower Firearms, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Colosky Enterprises                                         2.4                     Preferred stockholder
 1414 Carnoustie Court, San Angelo, TX 76904




 Independence LI, LLC                                        2.4                     Preferred stockholder
 14114 N Dallas Parkway Suite 472, Dallas, TX 75254




 Nash High Caliber LLC                                       1.5                     Preferred stockholder
 P.O. Box 63, Mason, TX 76856




 Restoration Capital LLC                                     1.2                     Preferred stockholder
 42637 Bradfords Telegraph Ct, Chantilly, VA 20152




 CougarAce Holdings, LLC                                     1.2                     Preferred stockholder
 6713 Ranger Creek Road, Boerne, TX 78006




 Field-Lahiri Properties, LP                                 1.2                     Preferred stockholder
 11 Maple Loft Place, Spring, TX 77381
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                                          United States Bankruptcy Court
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Watchtower Firearms, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Catina Smart                                                1.2                     Preferred stockholder
 30 Netherfield Way, Spring, TX 77382




 The TLV 2021 Lifetime Revocable Trust                       1.2                     Preferred stockholder
 2 Hammock Dunes Place, Spring, TX 77389




 WE Interests LLC                                            1.2                     Preferred stockholder
 P.O. Box 388, 202 Spring Ho Avenue, Lampasas, TX
 76550




 Texas Ladybird Investments LLC                              1.2                     Preferred stockholder
 15979 Count Road 616, Farmersville, TX 75442




 KLM Investment Trust                                        .7                      Preferred stockholder
 6 Windsor Ridge, Frisco, TX 75034




 McKee Revocable Trust                                       .5                      Preferred stockholder
 11821 Doolin Court, Dallas, TX 75230
     Case 25-40684-mxm11             Doc 1 Filed 02/27/25 Entered 02/27/25 11:38:18                Desc Main
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IN RE:                                                               Case No.__________________
Watchtower Firearms, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Dr. Francisco Moreno                                        .9                      Preferred stockholder
 23920 Katy Freeway, Ste 310, Katy, TX 77494




 Trenton Jay Davis                                           .7                      Preferred stockholder
 19204 Secretariat Place, Spicewood, TX 78669




 TIJAKR Ventures, LLC                                        1.2                     Preferred stockholder
 142 Gateway Park Place, Spring, TX 77380




 Jason Colosky - Post Close                                  2.4                     Preferred stockholder
 5 Windsor Ridge, Frisco, TX 75035




 Equity Trust Company FBO Benoit Castel IRA                  1.2                     Preferred stockholder
 4 Portofino Drive, Ste 1207, Gulf Breeze, FL 32561




 R Hyde Group, LLC                                           .9                      Preferred stockholder
 6 Shadywood Ln, Melissa, TX 75454
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Watchtower Firearms, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Sycamore BBL Investments LLC                                1.2                     Preferred stockholder
 23 Pitney Court, Basking Ridge, NJ 07920




 R Hyde Group, LLC                                           .6                      Preferred stockholder
 6 Shadywood Ln, Melissa, TX 75454




 JJ Dupont, LLC                                              1.4                     Preferred stockholder
 2540 Hwy 384, Bell City, LA 70630




 Jason Colosky - 2024                                        4.7                     Preferred stockholder
 5 Windsor Ridge, Frisco, TX 75035




 Casey Colosky - 2024                                        2.4                     Preferred stockholder
 5 Windsor Ridge, Frisco, TX 75035




 R Hyde Group, LLC                                           1.4                     Preferred stockholder
 6 Shadywood Ln, Melissa, TX 75454
     Case 25-40684-mxm11             Doc 1 Filed 02/27/25 Entered 02/27/25 11:38:18                Desc Main
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Watchtower Firearms, LLC                                                        11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Jason Colosky                                               100                     Common stockholder
 5 Windsor Ridge, Frisco, TX 75035
Case 25-40684-mxm11         Doc 1 Filed 02/27/25 Entered 02/27/25 11:38:18        Desc Main
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                               United States Bankruptcy Court
                               Northern District of Texas




          Watchtower Firearms, LLC
 In re:                                                          Case No.

                                                                 Chapter    11
                      Debtor(s)




                               Verification of Creditor Matrix



        The above-named Debtor(s) hereby verify that the attached list of creditors is
 true and correct to the best of their knowledge.




               02/27/2025                        /s/ Jason Colosky
 Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  CEO
                                                 Position or relationship to debtor
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 2020 Exhibits, Inc.
 10550 S. Sam Houston Pkwy W.
 Houston, TX 77071


 A-Dependable Logistics
 11007 Northpointe Blvd Ste A
 Tomball, TX 77375


 A.J. Rod
 P.O. BOX 40067
 Houston, TX 77240


 A3D Manufacturing
 15220 S. 50th St. Suite 105
 Phoenix, AZ 85044


 Advanced Compressed Air Solutions
 9421 FM 2920 RD BLDG 23
 Tomball, TX 77375


 AIM Capital Solutions
 PO Box 95000


 Airgas
 P.O. BOX 734671
 Dallas, TX 75373


 ALG Defense
 800 E. Walnut St.
 North Wales, PA 19454


 Angry Bear Arms
 P.O. Box 1182
 Salem, MO 65560


 ARDENT FIRE EQUIPMENT & SAFETY SERVICES
 P.O. BOX 9912
 Spring, TX 77380


 Armorlube
 7620 N Hartman Ln #132
 Tucson, AZ 85743


 Arnolds Metal Finishing
 520 CHESTNUT BUSINESS PARK DR
 Tomball, TX 77375
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 B5 Systems
 1463 Bellbrook Ave
 Xenia, OH 45385


 Ballistic Advantage, LLC
 2550 Ocoee Apopka Rd Unit 100
 Apopka, FL 32703


 Bass Tools
 2300 Fairway Park Dr.
 Houston, TX 77092


 Bates Wilder McGee, P.C.
 26419 Oak Ridge Drive
 Spring, TX 77380


 BP Equipment Co.
 805 Clear Creek Ave
 League City, TX 77573


 Breek Arms
 200 E 1st Ave
 Beaver Creek, MN 56116


 BTX GLOBAL LOGISTICS
 P.O. Box 853
 Shelton, CT 06484


 Buffalo Equipment
 8681 Louetta Rd.
 Suite 220
 Spring, TX 77379


 Buffalo Equipment, Inc.
 8681 Louetta Road
 Suite 220
 Spring, TX 77379


 Business Solution Partners LLC
 185 Great Neck Rd, Suite 4L
 Great Neck, NY 11021


 C4 Industrial Inc.
 15832 W. Hardy STE 670
 Houston, TX 77060


 Casey Colosky - 2024
 5 Windsor Ridge
 Frisco
 TX 75035
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 Catina Smart
 30 Netherfield Way
 Spring
 TX 77382


 Check-Mate Manufacturing
 370 Wyandanch Ave
 West Babylon, NY 11704


 Cheely Custom Gunworks
 15785 Steger Industrial Dr.
 Hudson, MI 49247


 Colosky Enterprises
 1414 Carnoustie Court
 San Angelo
 TX 76904


 CougarAce Holdings, LLC
 6713 Ranger Creek Road
 Boerne
 TX 78006


 CREST ULTRASONICS CORPORATION
 18 GRAPHICS DR.
 Trenton, NJ 08618


 Crossroads Steel Supply
 336 West US HWY 30
 Suite 201
 Valparasio, IN 46385


 Cutting Tools
 5050 Ashley Ct.
 Houston, TX 77041


 D&I Tool
 16343 Waverly Drive
 Houston, TX 77032


 DASAN USA/ALPHA FOXTROT
 2400 Main Street NW
 Duluth, GA 30097


 DEFIANCE MACHINE
 3881 Montana Highway 40 West
 Columbia Falls, MT 59912
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 Department of Treasury
 Alcohol and Tobacco Tax & Trade Bureau
 550 Main Street, Suite 8002
 Cincinnati, OH 45202-5215


 DMG MORI
 350 E DEVON AVE.
 Itasca, IL 60143


 Dr. Francisco Moreno
 23920 Katy Freeway, Ste 310
 Katy
 TX 77494


 Ellison Technologies
 P.O. Box 201080
 Dallas, TX 75320


 Equity Trust Company FBO Benoit Castel IRA
 4 Portofino Drive, Ste 1207
 Gulf Breeze
 FL 32561


 Ervin Industries, Inc.
 3893 Research Park Drive
 Ann Arbor, MI 48106


 EVOQUA WATER TECHNOLOGIES LLC
 28563 NETWORK PLACE
 Chicago, IL 60673


 Faxon Firearms
 4348 Le Saint Court
 Fairfield, OH 45014


 Field-Lahiri Properties, LP
 11 Maple Loft Place
 Spring
 TX 77381


 FisherBroyles, LLP
 P.O. Box 735232
 Dallas, TX 75373


 FREEDOM FACTORY TACTICAL - MyToyz Enterprises
 2014 Airport Road Bldg 200
 Conroe, TX 77301
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 Function 1 Consulting Group
 4003 Barco Ct.
 Spring
 TX 77386


 Fusion Firearms
 200 Rich Street
 Venice, FL 34292


 GENRG Power Solutions/Generators of Houston
 PO Box 690469
 Houston, TX 77269


 Guntology
 6501 Arena Blvd
 Suite 103A
 Laredo, TX 78041


 Harris County Alarm Detail
 9418 Jensen Dr., Suite A
 Houston, TX 77093


 Hartwig
 10321 Regal Row
 Houston, TX 77040


 HIPERFIRE
 4255 White Bear Pkwy Ste 1700
 Saint Paul, MN 55110


 Independence LI, LLC
 14114 N Dallas Parkway Suite 472
 Dallas
 TX 75254


 Jason Colosky
 5 Windsor Ridge
 Frisco, TX 75035


 Jason Colosky
 5 Windsor Ridge
 Frisco
 TX 75035


 Jason Colosky - 2024
 5 Windsor Ridge
 Frisco
 TX 75035
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 Jason Colosky - Post Close
 5 Windsor Ridge
 Frisco
 TX 75035


 JJ Dupont, LLC
 2540 Hwy 384
 Bell City
 LA 70630


 Kak Industry
 2241 Celsius Ave., Unit C
 Oxnard, CA 93030


 KCP Advisory Group
 700 Technology Park Dr Suite 212
 Billerica, MA 01821


 KLM Investment Trust
 6 Windsor Ridge
 Frisco
 TX 75034


 KME CNC Inc
 17200 Red Hill Ave
 Irvine, CA 92614


 Leviathan Group LLC
 2121 N. Monroe St. Unit 600
 Monroe, MI 48162


 Mass Finishing Inc
 1060 Commerce Blvd.
 Howard Lake, MN 55349


 McKee Revocable Trust
 11821 Doolin Court
 Dallas
 TX 75230


 MCMASTER CARR
 PO BOX 7690
 Chicago, IL 60680


 MDS Fulfillment Inc.
 6555 West Mill Road
 Milwaukee, WI 53218
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 Metal Supermarkets
 15905 Morales Road, Suite L200
 Houston, TX 77032


 MJD Solutions
 502 Big Indian Loop
 Mooresville, NC 28117


 MSC Direct
 PO BOX 953635
 Saint Louis, MO 63195


 Nash High Caliber LLC
 P.O. Box 63
 Mason
 TX 76856


 National Shooting Sports Foundation
 PO BOX 4110
 Dept. 3510
 Woburn, MA 01888


 Nexus Disposal, LLC
 6131 Thomas Rd.
 Houston, TX 77041


 NITRETEX
 P.O. BOX 26
 New Ulm, TX 78950


 Norma
 200 Blue Moon Crossing Suite 100
 Pooler, GA 31322


 Oracle America, Inc.
 500 Oracle Parkway
 Redwood City, CA 94065


 Orchid
 PO Box 270862
 W Hartford, CT 06127


 P6 Products
 150 Sandy Beach Ln
 McDaniels, KY 40152


 PFT Texas LLC
 4003 Barco Ct.
 Spring, TX 77388
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 Pierson Ferdinand LLP
 14800 Frye Road, 2nd Floor
 Fort Worth, TX 76155


 Protolabs
 5540 Pioneer Creek Dr.
 Maple Plain, MN 55359


 R Hyde Group, LLC
 6 Shadywood Ln
 Melissa
 TX 75454


 Rainier Arms
 2504 Auburn Way N.
 Auburn, WA 98002


 Red Dirt
 1137 CR 238
 Nacadoches, TX 75961


 Restoration Capital LLC
 42637 Bradfords Telegraph Ct
 Chantilly
 VA 20152


 RMP Industrial Supply Inc.
 3209 Stuart Dr
 Fort Worth, TX 76110


 Royal Case Company
 419 E. Lamar Street
 Sherman, TX 75090


 Ryan Holdings, LLC
 PO Box 803447
 Dallas
 TX 75380


 Safety Kleen Systems Inc
 PO BOX 975201
 Dallas, TX 75397


 Sanberg Investments
 21019 Spring Towne Drive
 Spring, TX 77388


 SB Tactical LLC
 3145 Lakewood Ranch Blvd Suite 111
 Memphis, FL 34211
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 Shooting Innovations LLC
 601 S Pioneer Way Ste. F #230
 Moses Lake, WA 98837


 SolidCAM Inc.
 1631 Rock Springs Road Ste 320
 Apopka, FL 32712


 Superlative Arms, LLC
 6612 Osteen Rd., Unit 338
 New Port Richey, FL 34653


 SURFACE PREPARATION
 PO Box 713129
 Chicago, IL 60677


 Sycamore BBL Investments LLC
 23 Pitney Court
 Basking Ridge
 NJ 07920


 Tanury Industries Performance Coatings
 6 New England Way
 Lincoln, RI 02865


 Taran Tactical Innovations
 98 W. Cochran Street
 Simi Valley, CA 93065


 Tax Agency TX
 Lyndon B. Johnson State Office Building
 111 East 17th Street
 Austin, TX 78774


 Texas Capital Bank
 c/o Pragnesh Mistry
 2000 McKinney Ave., Suite 700
 Dallas, TX 75201


 Texas Comptroller of Public Accounts
 Lyndon B. Johnson State Office Building
 111 East 17th Street
 Austin, TX 78774


 Texas Ladybird Investments LLC
 15979 Count Road 616
 Farmersville
 TX 75442
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 The TLV 2021 Lifetime Revocable Trust
 2 Hammock Dunes Place
 Spring
 TX 77389


 ThinOps Services
 9450 Pinecroft Ave.
 Suite 9545
 The Woodlands, TX 77387


 TIJAKR Ventures, LLC
 142 Gateway Park Place
 Spring
 TX 77380


 TJ Advisors
 16200 Addison Road, Suite 200
 Addison, TX 75001


 Trenton Jay Davis
 19204 Secretariat Place
 Spicewood
 TX 78669


 TRIDENT METALS
 PO Box 846196
 Dallas, TX 75284


 Uline
 PO Box 88741
 Chicago, IL 60680


 United Protective Technologies
 PO Box 1149
 Locust, NC 28097


 Vaportech
 PO Box 932614
 Atlanta, GA 31193


 Vetro Pictures
 15799 Spectrum Drive
 Addison, TX 75001


 WE Interests LLC
 P.O. Box 388, 202 Spring Ho Avenue
 Lampasas
 TX 76550
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 WTF Resources
 1229 Calle Del Sur
 El Paso, TX 75035


 WTF Resources, LLC
 1229 Calle Del Sur
 79912
 El Paso
 TX 79912
